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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5

6     STANLEY RIMER,                                  Case No. 3:18-cv-00023-MMD-WGC

7                                 Petitioner,

8           v.                                                       ORDER

9     RENEE BAKER, et al.,

10                             Respondents.

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12         Respondents filed an unopposed motion for enlargement of time (third request).

13   (ECF No. 48.) The Court finds good cause exists to grant the motion.

14         It is therefore ordered that Respondents’ unopposed motion for enlargement of time

15   (third request) (ECF No. 48) is granted. Respondents will have up to and including

16   December 4, 2020, to file a reply in support of their motion to dismiss. (ECF No. 27.)

17         DATED THIS 5th Day of November 2020.

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                                                MIRANDA M. DU
21                                              CHIEF UNITED STATES DISTRICT JUDGE

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